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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF OKLAHOMA

                                                 :
Jamie Thompson,                                  :
                                                 :
                                                 :
                      Plaintiff,                 :
                                                   Civil Action No.: 5:15-cv-00014-L
       v.                                        :
                                                 :
Jon Barry & Associates, Inc. d/b/a Paragon       :
Revenue Group; and DOES 1-10, inclusive,         :
                                                 :
                                                 :
                      Defendant.                 :

                                   NOTICE OF SETTLEMENT

       NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The Plaintiff anticipates filing a notice of withdrawal of Complaint and voluntary

dismissal of this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: March 16, 2015

                                                  Respectfully submitted,

                                                  PLAINTIFF, Jamie Thompson

                                                  /s/ Sergei Lemberg

                                                  Sergei Lemberg, Esq. (SL 6331)
                                                  LEMBERG LAW, L.L.C.
                                                  1100 Summer Street, 3rd Floor
                                                  Stamford, CT 06905
                                                  Telephone: (203) 653-2250
                                                  Facsimile: (203) 653-3424
                                                  slemberg@lemberglaw.com
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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 16, 2015, a true and correct copy of the foregoing Notice
of Settlement was served electronically by the U.S. District Court Western District of Oklahoma
Electronic Document Filing System (ECF) and that the document is available on the ECF
system.

                                            By /s/ Sergei Lemberg
                                                    Sergei Lemberg
